       Case 2:24-cv-05559-MAK           Document 30        Filed 04/30/25     Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BILLY BOY REAL ESTATE LLC,                     : CIVIL ACTION
 BILLY BOY CONTRACTING LLC,                     :
 EDDIE HENDRICK                                 :
                                                :
                      v.                        : No. 24-5559
                                                :
 UPPER MERION TOWNSHIP, UPPER                   :
 MERION TOWNSHIP BOARD OF                       :
 SUPERVISORS, TINA GARZILLO,                    :
 WILLIAM JENAWAY, GREG WAKS,                    :
 GREG PHILIPS, CAROLE KENNEY,                   :
 ANTHONY HAMADAY                                :


                                            ORDER

       AND NOW, this 30th day of April 2025, upon studying Defendants’ Motion for summary

judgment (ECF 24), Plaintiffs’ timely Opposition (ECF 27), and for reasons in a forthcoming

Memorandum (issuing Order today consistent with Rule 1 mindful counsel may be preparing

pretrial filings) detailing the lack of adduced evidence creating a genuine issue of material fact

allowing a jury to consider issues on the equal protection and due process claims, finding no basis

to exercise supplemental jurisdiction over the remaining two state law claims, and for good cause,

it is ORDERED Defendants’ Motion (ECF 24) is GRANTED requiring we:

       1.      Dismiss the federal due process and equal protection claims with prejudice;

       2.      Dismiss the state law abuse of process and tortious interference claims without

prejudice to be timely pursued in state court if warranted; and,

       3.     Direct the Clerk of Court CLOSE this case.



                                                     KEARNEY, J.
